
34 So. 3d 145 (2010)
UNITED AUTOMOBILE INSURANCE COMPANY, Petitioner,
v.
Johanna GUZMAN, Respondent.
No. 3D09-2468.
District Court of Appeal of Florida, Third District.
April 21, 2010.
Lara J. Edelstein, for petitioner.
Stuart B. Yanofsky, for respondent.
Before COPE, SUAREZ and SALTER, JJ.
PER CURIAM.
This is a petition for writ of certiorari seeking review of a decision of the appellate division of the circuit court in a personal injury protection (PIP) case. Although this court has ordered a response to be filed by respondent and respondent has been granted two extensions of time to file such response, none has been filed and the time for doing so has expired.
We quash the order now before us on the authority of United Automobile Ins. Co. v. Santa Fe Medical Center, 21 So. 3d 60 (Fla. 3d DCA 2009).
Petition granted.
